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 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   DARRYL DUNSMORE,                                    Case No.: 3:20-cv-1378-JLS-AHG
12                                     Petitioner,
                                                         ORDER DENYING MOTION TO
13   v.                                                  PROCEED IN FORMA PAUPERIS
                                                         AS MOOT
14   UNKNOWN,
15                                   Respondent.
                                                         (ECF No. 9)
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18         On July 17, 2020, Petitioner Darryl Dunsmore, a prisoner proceeding pro se, filed a
19   Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254 together with a request to
20   proceed in forma pauperis. On August 4, 2020, this Court dismissed the Petition as
21   successive, pursuant to § 2244(b)(3)(A). (ECF No. 3.)
22         On August 24, 2020, Petitioner filed a “Motion for Rehearing.” (“Mot.,” ECF No.
23   5.) The Court construed Petitioner’s Motion as one filed pursuant to Federal Rule of Civil
24   Procedure 60(b).    On November 5. 2020, the Court denied Petitioner’s motion for
25   reconsideration in part, granted it in part, and clarified its August 4, 2020 Order. (ECF No.
26   9.) The Court concluded that it appeared the Petition contained claims related to two
27   different state court judgments.     As to claims relating to Petitioner’s original 2010
28   judgment and conviction in San Diego Superior Court Case No. SCS 215653, those claims

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 1   remained dismissed as successive pursuant to 28 U.S.C. § 2244(b)(3)(A). To the extent
 2   Petitioner raised other claims related to an October 8, 2019 opinion from the California
 3   Court of Appeal in Case No. D074656 ordering Petitioner be resentenced, the Court
 4   granted Petitioner’s motion for reconsideration to the extent those claims had been
 5   dismissed as successive. (See id. at 6.) As the Court stated in its November 5, 2020 Order,
 6   however, those claims and the Petition, remained dismissed because the Court must abstain
 7   from addressing claims for which state court proceedings are ongoing. See Younger, 401
 8   U.S. at 45–46.
 9          After filing his motion for reconsideration, Petitioner filed a motion to proceed in
10   forma pauperis that is still pending before this Court. Because Petitioner’s case has been
11   dismissed, Petitioner’s motion is DENIED as MOOT.1
12          IT IS SO ORDERED.
13   Dated: January 12, 2021
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       Petitioner’s appeal of the dismissal (ECF No. 11) is pending before the United State Court of Appeals
28   for the Ninth Circuit. (See ECF No. 15 at 1.)

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